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                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT

3                                                                    EASTERN DISTRICT OF WASHINGTON



                                                                      Oct 20, 2021
4                                                                         SEAN F. MCAVOY, CLERK



5                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
6

7     VERONICA GARZA GONZALEZ,
      individually,                                  NO: 2:21-CV-101-RMP
8
                                 Plaintiff,          ORDER OF DISMISSAL WITH
9                                                    PREJUDICE
           v.
10
      ALLSTATE FIRE AND
11    CASUALTY INSURANCE
      COMPANY d/b/a Allstate Insurance
12    Company, a foreign business entity,

13                               Defendant.

14

15         BEFORE THE COURT is a Stipulated Motion to Dismiss with Prejudice,

16   ECF No. 15. Having reviewed the Motion and the record, the Court finds good

17   cause to grant dismissal. Accordingly, IT IS HEREBY ORDERED:

18         1. The Stipulated Motion to Dismiss, ECF No. 15, is GRANTED.

19         2. Plaintiff’s Complaint is dismissed with prejudice and without fees or

20              costs to any party.

21         3. All pending motions, if any, are DENIED AS MOOT.



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
      Case 2:21-cv-00101-RMP     ECF No. 16    filed 10/20/21   PageID.143 Page 2 of 2



1          4. All scheduled court hearings, if any, are STRICKEN.

2          IT IS SO ORDERED. The District Court Clerk is directed to enter this

3    Order, enter judgment of dismissal with prejudice, provide copies to counsel, and

4    close this case.

5          DATED October 20, 2021.

6
                                                s/ Rosanna Malouf Peterson
7                                           ROSANNA MALOUF PETERSON
                                               United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
